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Stac^r Pecoraro
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Sent:                                Wednesday, February 26, 2025 11:09 AM
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A new EDSS Filing has been submitted. The filing was submitted on Wednesday, February 26, 2025 -11:08 from IP
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Submitted values are:


Filer's Full Name: Hiran Rodriguez



Filer's Email Address: hiranrodriguez^outlook.com



Filer's Mailing Address (Street, Apt/Suit No., City, State, Zip): 820 Grove Ave, Metairie, LA, 70003-7024


Filer's Phone Number: 504-203-8459




Case Number (if known): 2:2025cv00197



Case Name: Rodriguez v. Meta Platforms, Inc et al



Document 1 Description: Plaintiff's Supplemental Response in Opposition to Defendant Apple Inc.'s Motion to Dismiss
02/26/2025

Document 2 Description:

Document 3 Description:

Document 4 Description:

Document 5 Description:



The submitted documents will arrive in your EDSS Filings bucket within 15 minutes.




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